Case 2:22-cv-00040-JRG-RSP Document 68 Filed 07/15/22 Page 1 of 4 PageID #: 775




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  HOWLINK GLOBAL LLC,

            Plaintiff,                                    CASE NO. 2:22-cv-00040-JRG-RSP
  v.                                                               (Lead Case)

  AT&T, INC., et al                                           JURY TRIAL DEMANDED

            Defendants,

  ERICSSON INC.,

             Intervenor,

  HOWLINK GLOBAL LLC,

            Plaintiff,
                                                          CASE NO. 2:22-cv-00042-JRG-RSP
                                                                 (Member Case)
  v.

  VERIZON COMMUNICATIONS, INC., ET                            JURY TRIAL DEMANDED
  AL.

            Defendants.

  ERICSSON INC.,

            Intervenor,

                 CORPORATE DISCLOSURE STATEMENT OF INTERVENOR
                                 ERICSSON INC.

            Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for Defendant

 Ericsson Inc. (“Ericsson”) certify that:

       1.      Ericsson Inc. is a Delaware corporation that is wholly-owned by Ericsson Holding

 II Inc., which is also a Delaware corporation. Ericsson Holding II Inc. is wholly-owned by

                                                   1
Case 2:22-cv-00040-JRG-RSP Document 68 Filed 07/15/22 Page 2 of 4 PageID #: 776




 Telefonaktiebolaget LM Ericsson.

    2.     Telefonaktiebolaget LM Ericsson (“LME”) is publicly held and has no parent

 corporation. LME has Class A and Class B shares that are listed on Nasdaq Stockholm in Sweden.

 In the United States, the Class B shares are listed on NASDAQ New York in the form of American

 Depositary Shares (ADS) evidenced by American Depositary Receipts (ADR) Each ADS

 represents one Class B share. No publicly held corporation owns 10% or more of LME’s stock,

 which comprises Class A and Class B shares. However, as of 31 December 2021, Investor AB and

 AB Industrivärden each own shares in LME representing 10% or more of the voting rights.



 Dated: July 15, 2022                       RESPECTFULLY SUBMITTED,

                                            /s/ Theodore Stevenson III
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Case 2:22-cv-00040-JRG-RSP Document 68 Filed 07/15/22 Page 3 of 4 PageID #: 777




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                                       3
Case 2:22-cv-00040-JRG-RSP Document 68 Filed 07/15/22 Page 4 of 4 PageID #: 778




                                 CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the foregoing document was served on all parties
   who have appeared in this case on July 15, 2022, via the Court’s CM/ECF system.


        Dated: July 15, 2022                 /s/ Theodore Stevenson III

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